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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and JULIA                     )
 SHEKETOFF,                                     )
                                                )          Civ. No. 1:19-02443 (RDM)
                Plaintiffs,                     )
  v.                                            )          JURY TRIAL DEMANDED
                                                )
 JONES DAY et al.,                              )
                                                )
                Defendants.                     )

                       DEFENDANTS’ ANSWER AND DEFENSES
                   TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Defendants Jones Day (or the “Firm”), Stephen J. Brogan, Beth Heifetz, and Michael

Shumaker, by and through undersigned counsel, hereby file this Answer and Defenses (“Answer”)

to Plaintiffs’ Second Amended Complaint (“Complaint”). Any allegation not explicitly admitted

is denied. Headings and footnotes contained in the Complaint are not substantive allegations to

which an answer is required and to the extent the headings are repeated in the Answer, it is solely

for ease of reference. To the extent any heading or footnote is construed as substantive allegations

to which an answer is required, Defendants deny the allegations, except admit that they consented

to the filing of the Complaint and reserve all defenses thereto.

                                PRELIMINARY STATEMENT

       Plaintiffs instigated this dispute with the stated intention of trying this case in the court of

public opinion. They contacted media outlets and launched PR campaigns—complete with photo

shoots—before even filing suit. And to grab headlines, they prepared a pleading long on salacious

allegations but devoid of legal or factual merit.

       Sheketoff’s pay discrimination claim rests on the allegation that “Partner A,” who is male,

“gave her a poor performance review for not showing him the degree of deference that he demands
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from female (but not male) attorneys.” The claim is not made in good faith. Partner A’s written

evaluation of Sheketoff was only one of the negative reviews she received, and she does not allege

that any of the others were discriminatory. And Partner A’s evaluation had nothing to do with

insufficient deference. It was positive in some respects, but commented negatively on Sheketoff’s

availability and academic writing style. Moreover, Sheketoff has no basis to claim that Partner

A’s criticisms—shared by others—were motivated by her gender. As of the filing of this lawsuit,

Partner A had submitted fifteen evaluations of female associates since becoming a partner. Only

Sheketoff’s review was negative. Partner A was also critical of male associates’ performances

when the circumstances warranted.

       Sheketoff’s sensationalist allegation that Jones Day doctored her website photo to make

her look more Caucasian is ridiculous. Jones Day celebrates its diversity and has numerous diverse

lawyers in leadership positions, including the Partner-in-Charge of the Washington Office (and his

predecessor) and Partner A, a practice leader. Sheketoff omits that she herself selected and

approved the photo that the Firm used on its website, and that Jones Day also used other photos of

Sheketoff in marketing, none of which the Complaint claims were doctored.

       Savignac’s claims are equally meritless. Jones Day’s family leave policy affords all new

birthparents the same amount of family leave, depending solely on caregiver status, a gender-

neutral distinction. As required by federal law, Jones Day also extends its short-term disability

leave policy to new mothers who give birth. Demonstrating immaturity and poor judgment,

Savignac demanded that he be given more leave than similarly situated female associates or else

he would sue Jones Day and take his case to the “court of public opinion.” Savignac made this

extortionate demand despite admitting that birth mothers are entitled to at least some period of

disability leave and that he was never disabled. In other words, Savignac demanded the same total




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leave as birth mothers while admitting that only birth mothers were entitled to disability leave—a

legally indefensible position.

       Plaintiffs’ claim that they are fighting “archaic gender roles” is contrived. Rather than

fighting stereotypes, two highly paid associates demanded that Savignac (and just Savignac)

receive additional paid leave using threats of a lawsuit based on a concocted legal theory that Jones

Day’s authorization of short-term disability leave after childbirth is somehow a “sham.” Their

misguided allegations have no basis in fact or law.

                      RESPONSES TO PLAINTIFFS’ ALLEGATIONS

       1.      Defendants admit that Plaintiffs are attorneys and formerly clerked at the United

States Supreme Court. Defendants lack knowledge or information sufficient to form a belief as to

the remaining allegations in Paragraph 1 of the Complaint and, on that basis, deny them.

       2.      Defendants admit that Jones Day is a global law firm with over 40 offices in major

centers of business and finance on five continents. Defendants lack knowledge or information

sufficient to form a belief as to whether Jones Day is one of the most politically influential firms

in the world and, on that basis, deny that allegation. Defendants admit that Brogan is the Managing

Partner of Jones Day and deny the remainder of the second sentence of Paragraph 2 of the

Complaint, except admit that the language in the second quote has appeared on Jones Day’s

website. Defendants admit that Heifetz was previously the Practice Leader of Jones Day’s Issues

& Appeals practice.

       3.      Defendants admit that Plaintiffs were associates in Jones Day’s Issues & Appeals

practice.

       4.      Defendants deny the allegations in Paragraph 4 of the Complaint. The only

distinctions in Jones Day’s family leave policy are between primary and secondary caregivers, and

between biological and adoptive parents. Neither distinction is gender-based nor reflects archaic


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gender roles. Consistent with EEOC guidance, women who give birth may also qualify for short-

term disability leave in addition to family leave. That women give birth is an unavoidable

biological fact, not an archaic gender role. Moreover, any other person who qualifies may also

take short-term disability leave, regardless of gender.

       5.      Defendants deny that Jones Day’s family leave policy reflects, establishes, is based

on, or perpetuates “archaic gender roles.” Defendants lack knowledge or information sufficient to

form a belief as to the remaining allegations in Paragraph 5 of the Complaint and, on that basis,

deny them.

       6.      Defendants admit that Sheketoff voluntarily resigned from Jones Day on or about

August 24, 2018, and that Savignac sent an email dated January 16, 2019, to Jones Day’s Director

of Human Resources and Counsel. That email is a written document that speaks for itself, and

Defendants deny any allegation inconsistent therewith, including without limitation that the email

was from Sheketoff. Defendants lack information and belief as to when Plaintiffs’ son was born

or about Sheketoff’s rationale for leaving Jones Day.

       7.      The allegations in Paragraph 7 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith. Defendants deny

the characterization of Jones Day’s compensation system as a “black box,” deny that Jones Day’s

compensation system is discriminatory, and deny that Plaintiffs experienced unlawful

discrimination or retaliation at Jones Day.

       8.      The allegations in Paragraph 8 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith. Defendants lack

knowledge or information sufficient to form a belief as to Plaintiffs’ subjective intent and, on that

basis, deny those allegations in Paragraph 8 of the Complaint. Defendants deny any allegation




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that Plaintiffs experienced gender-based discrimination at Jones Day or that Sheketoff’s

compensation at Jones Day was impacted by any such discrimination.

       9.      Defendants admit that Jones Day fired Savignac effective January 22, 2019.

       10.     Defendants deny that Jones Day fired Savignac in retaliation for any protected

activity. Jones Day terminated Savignac’s employment because it concluded that he showed poor

judgment, a lack of courtesy to his colleagues, personal immaturity, and a disinterest in pursuing

his career at Jones Day—all of which are reflected by and apparent in the intemperate email he

sent to Ms. McClure. Savignac exhibited open hostility to the Firm, demanding that he be given

the additional eight paid weeks of leave that he wanted for himself “or else” and claiming hardship

under circumstances that no reasonable person would view as anything but exceptionally generous.

       11.     Defendants deny the allegations in Paragraph 11 of the Complaint and refer to their

response to Paragraph 216 of the Complaint.

       12.     Defendants deny the allegations in Paragraph 12 of the Complaint.

                                           PARTIES

       13.     Defendants lack knowledge or information sufficient to form a belief as to the first

sentence of Paragraph 13 of the Complaint and, on that basis, deny that sentence. Defendants

admit the second sentence of Paragraph 13 of the Complaint.

       14.     Defendants lack knowledge or information sufficient to form a belief as to the first

sentence of Paragraph 14 of the Complaint and, on that basis, deny that sentence. Defendants

admit the second sentence of Paragraph 14 of the Complaint.

       15.     Defendants deny that Jones Day’s principal place of business is in the District of

Columbia. Defendants admit the remaining allegations in Paragraph 15 of the Complaint.




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       16.     Defendants admit the allegations in Paragraph 16 of the Complaint, except deny

that the Managing Partner regularly works out of the Washington, D.C. office, although admit that

he maintains an office there. The allegation that Brogan “[a]t all relevant times, acted in the

interest of Jones Day” is a legal conclusion to which no response is required.

       17.     Defendants admit that Michael Shumaker is the Firm Administrative Partner at

Jones Day and is based out of the Washington, D.C. office. The allegation that Shumaker “[a]t all

relevant times, acted in the interest of Jones Day” is a legal conclusion to which no response is

required. Defendants deny that Shumaker is “Brogan’s chief business adviser on personnel and

other administrative matters” and further state that the responsibilities of Jones Day’s

Administrative Partner include serving “as counsel to the Firm on personnel and other matters,”

as set forth in the Jones Day Firm Manual.

       18.     Defendants admit that Heifetz was previously the practice leader of Jones Day’s

Issues & Appeals practice group and is based out of the Washington, D.C. office. The allegation

that Heifetz “[a]t all relevant times … acted in the interest of Jones Day” is a legal conclusion to

which no response is required.

                                 JURISDICTION AND VENUE

       19.     Paragraph 19 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Defendants admit that the Court has subject matter

jurisdiction over certain of the claims asserted in this suit pursuant to 28 U.S.C. § 1331.

       20.     Paragraph 20 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Defendants admit that the Court has supplemental

jurisdiction over certain of the claims asserted in this suit pursuant to 28 U.S.C. § 1367.




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          21.   Paragraph 21 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Defendants admit that this Court has personal

jurisdiction over them.

          22.   Paragraph 22 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required Defendants admit that certain events are alleged to

have taken place in the District of Columbia and that venue lies here pursuant to 28 U.S.C. §

1391(b).

          23.   To the extent Paragraph 23 states a legal conclusion, no response is required.

Defendants admit that Sheketoff filed a charge with the EEOC dated June 18, 2019.

          24.   To the extent Paragraph 24 states a legal conclusion, no response is required.

Defendants admit that Savignac filed a charge with the EEOC dated June 19, 2019.

                                   FACTUAL ALLEGATIONS

          25.   The allegations in Paragraph 25 are vague, rely on generalization and over-

simplification, generically allege activities engaged in by lawyers, and are therefore denied as

stated.

          26.   Defendants deny that Jones Day’s main area of legal practice is litigation, admit

that Plaintiffs primarily worked on civil and criminal litigation matters while at Jones Day, and

incorporate their responses to the following paragraphs insofar as they relate to the remainder of

Paragraph 26.

          27.   The allegations in Paragraph 27 are vague, rely on generalization and over-

simplification, and are therefore denied as stated. Defendants admit that both the facts and the law

are relevant to litigators in representing parties to disputes.

          28.   The allegations in Paragraph 28 are vague, rely on generalization and over-

simplification, and are therefore denied as stated.


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       29.     The allegations in Paragraph 29 are vague, rely on generalization and over-

simplification, and are therefore denied as stated.

       30.     The allegations in Paragraph 30 are vague, rely on generalization and over-

simplification, and are therefore denied as stated. Defendants admit that judges generally decide

pure issues of law and that federal court judges are usually experienced attorneys.

       31.     The allegations in Paragraph 31 are vague and rely on generalization and over-

simplification, and are therefore denied as stated.

       32.     The allegations in Paragraph 32 are vague, rely on generalization and over-

simplification, and are therefore denied as stated.

       33.     Defendants deny the allegations in Paragraph 33, except that they lack information

sufficient to form a belief as to how lawyers at other firms spend their time and on that basis deny

the allegation as to “similar firms.”

       34.     Defendants admit that some firms advertise having a practice group specializing in

appellate or Supreme court practice and otherwise lack information sufficient to form a belief as

to the remaining allegations in Paragraph 34 and, on that basis, deny the remaining allegations.

       35.     Defendants lack information sufficient to form a belief as to how lawyers at other

firms spend their time and on that basis deny the allegations in Paragraph 35.

       36.     Defendants deny that “the meaningful dividing line in litigation is between facts

and law.” The remaining allegations in Paragraph 36 are vague, rely on generalization and over-

simplification, and are therefore denied as stated.

       37.     Defendants admit that there is a practice group at Jones Day named “Issues &

Appeals” and that the quoted language appears on the Jones Day website. Defendants deny the

remaining allegations in Paragraph 37.




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          38.   Defendants admit that a majority of attorneys practicing in Jones Day’s U.S. offices

are either employees with the job title “Associate” or members of the Jones Day partnership.

Defendants lack information sufficient to form a belief as to “similar firms” and on that basis deny

the remaining allegations in Paragraph 38.

          39.   Defendants admit that associates in Jones Day’s Issues & Appeals practice

frequently work on trial and appellate litigation and other dispute resolution matters, and admit

that the quoted language appears on the Jones Day website. Defendants deny the last sentence in

Paragraph 39. The remaining allegations in Paragraph 39 are vague, rely on generalization and

over-simplification and are therefore denied as stated.

          40.   Defendants admit that Sheketoff worked on various matters, including in the U.S.

Supreme Court, U.S. Courts of Appeals for the Third, Fifth, and D.C. Circuits, and trial courts;

that those matters entailed drafting briefs and memoranda; and that Sheketoff argued a case in the

U.S. Court of Appeals for the D.C. Circuit in 2018.

          41.   The allegations in Paragraph 41, which implicitly incorporates by reference all prior

allegations are similarly vague, rely on generalization and over-simplification, and are denied as

stated.

          42.   Defendants admit the third sentence of Paragraph 42. Defendants also admit that

some Issues & Appeals associates, as well as partners and associates in other practices, help other

attorneys prepare for oral arguments; that Jones Day partners argue cases in the federal courts of

appeals for paying clients more frequently than Jones Day associates; and that Jones Day

encourages associates in many practices to work on pro bono trials and appeals. Defendants deny

as stated the remaining allegations in Paragraph 42.




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       43.     Defendants admit that all Jones Day associates are expected to be fast learners, that

none work on divorce cases and that, except in pro bono cases, Jones Day lawyers do not handle

child custody disputes. Defendants also admit that the matters Plaintiffs worked on while at Jones

Day spanned several different subject matters, and that one of the lawyers representing Jones Day

in this action is an Issues & Appeals lawyer with bankruptcy expertise. Defendants deny the first

sentence of Paragraph 43 and deny as stated the remaining allegations in Paragraph 43, which are

vague and rely on generalization and over-simplification.

       44.     Defendants deny Paragraph 44.

       45.     Defendants deny the first two sentences in Paragraph 45. Defendants admit that

the credentials of Issues & Appeals associates typically include experience as an appellate clerk;

that Jones Day focuses certain recruiting efforts on individuals clerking for Justices of the U.S.

Supreme Court and extends offers to most such individuals who apply for an associate position;

that Jones Day regularly pays associates a clerkship bonus when they join the Firm from a

clerkship, including a $300,000 clerkship bonus to Sheketoff and, more recently, a $400,000 bonus

to other former Supreme Court clerks. Defendants deny or deny as stated the remaining allegations

in Paragraph 45.

       46.     Defendants admit that a majority of the associates currently in Jones Day’s Issues

& Appeals practice clerked for a Justice of the U.S. Supreme Court and deny as vague the

remaining allegations in Paragraph 46.

       47.     Defendants admit that associates in Jones Day’s Issues & Appeals practice who did

not clerk at the Supreme Court satisfied the high academic standards Jones Day has set for all of

its associates. Defendants deny the remaining allegations in Paragraph 47.

       48.     Defendants deny Paragraph 48.




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       49.      Defendants deny the first sentence of Paragraph 49. Defendants lack information

sufficient to form a belief as to the second sentence of Paragraph 49 and, on that basis, deny the

sentence. Defendants admit that Heifetz sometimes approached associates with different JD Years

regarding availability for a particular project, but deny as stated the remainder of the third sentence

of Paragraph 49. Defendants further state that staffing of Issues & Appeals matters generally took

into account associates’ substantive expertise in the relevant field, level of experience, strategic

judgment and reliability, among other factors.

       50.      Defendants admit the tautology that all Issues & Appeals associates have the title

of “associate” and belong to the Issues & Appeals practice but deny the remaining allegations of

Paragraph 50.

       51.      Defendants admit that work comes to Issues & Appeals associates in a variety of

ways and that the channel by which an associate receives work is irrelevant to the assessment of

the level of skills, effort or responsibility involved in the assignment.

       52.      Defendants admit that the Rules of the Supreme Court of the United States prohibit

former clerks from participating in a professional capacity in a case before that Court for a two-

year period following the clerkship, that the mix of trial, appellate, Supreme Court, and other work

differs significantly among Issues & Appeals associates, that the differences are due to a variety

of factors, including the associates’ own interests, abilities, experience and availability, and that

there is no “top-down segregation of Issues & Appeals associates into different lines of work.”

Defendants deny or deny as stated the remaining allegations in Paragraph 52 of the Complaint.

       53.      Defendants admit that not all Issues & Appeals associates have been equally skilled

or perceived as equally skilled. Defendants deny the second sentence of Paragraph 53.

       54.      Defendants deny Paragraph 54 of the Complaint.




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       55.     Defendants deny Paragraph 55 of the Complaint.

       56.     Defendants deny Paragraph 56 of the Complaint.

       57.     Defendants deny the allegations in Paragraph 57, deny that the Issues & Appeals

partners involved in either the Tolton litigation or this matter handle only “questions of law,” and

deny the alleged basis for Jones Day’s selection of defense counsel.

       58.     Defendants admit that Plaintiffs worked on matters before the U.S. Supreme Court

while at Jones Day and otherwise deny or deny as stated the allegations in Paragraph 58 of the

Complaint.

       59.     Defendants admit that some Issues & Appeals associates record more billable hours

than others and that no associate’s productivity is measured by pages written or number of cases

handled. Defendants deny or deny as stated the remaining allegations in Paragraph 59 of the

Complaint.

       60.     Defendants admit that five of the eighteen male associates identified in an exhibit

filed by the Tolton plaintiffs as having been paid more but having fewer billable hours than the

Atlanta plaintiff in one particular year were former Supreme Court clerks in Jones Day’s

Washington, D.C. office, but deny that Jones Day expects associates in other practice groups to

work more than Issues & Appeals associates, and deny that the referenced statement supports any

such claim.

       61.     Defendants deny the allegations in Paragraph 61 and, in particular, deny that

Plaintiffs’ measurement of “effort” is legally relevant or factually accurate, and deny that legal

work involves “rote repetition” unless it requires “creative thought” on “novel issues.”

       62.     Defendants admit that most matters that Jones Day associates work on are

important, complex, or both, but deny that the nature of the matter determines the level of




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responsibility that any particular associate assumes in relation to that matter. Defendants deny or

deny as stated the remaining allegations in paragraph 62 of the Complaint.

       63.        Defendants admits that Issues & Appeals associates—like all associates—spend

some time researching the law, and admit that most Issues & Appeals associates, like many other

associates, draft briefs or portions of briefs. Defendants deny or deny as stated the remaining

allegations in Paragraph 63 of the Complaint, which are vague and rely on generalization and over-

simplification.

       64.        Defendants admit that all Jones Day associates are supervised by partners and are

accountable for their work. Defendants deny or deny as stated the remaining allegations in

Paragraph 64 of the Complaint, which are vague and rely on generalization and over-

simplification. The level of supervision provided by partners is a function, among other things, of

the associates’ need for supervision.

       65.        The first sentence of Paragraph 65 states a legal conclusion to which no response

is required and on that basis Defendants deny the allegation. Defendants admit that all Jones Day

associates, including Issues & Appeals associates, are assigned an office with heating and air

conditioning, have access to office furnishings, including desks and office chairs, and in some

offices have some discretion in the arrangement of office furniture, and are governed by the same

overall Firm policies, subject to any variation in the laws of individual jurisdictions. Defendants

deny or deny as stated the remaining allegations in Paragraph 65 of the Complaint.

       66.        Defendants deny Paragraph 66 of the Complaint.

       67.        Defendants deny Paragraph 67 of the Complaint.

       68.        Defendants admit that certain Issues & Appeals associates, including Plaintiff

Sheketoff, were the highest paid associates in the class of 2010 law graduates as of July 1, 2016.




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       69.      Defendants deny Paragraph 69 of the Complaint. Savignac was not the highest paid

associate in the class of 2011 law school graduates as of January 1, 2019.

       70.      Defendants deny Paragraph 70 of the Complaint. Savignac’s salary just prior to his

termination was lower than that of other associates in the class of 2011 law school graduates.

       71.      Defendants admit that the quoted language has appeared on the Jones Day website.

       72.      Defendants admit that the process for drafting evaluations, preparing an assessment

statement, and reviewing the performance of an associate during a given calendar year typically

occurs in the first six months of the following year, and admit that associate salary adjustments are

based at least in part on the results of that process for each associate. Except as expressly admitted,

Defendants deny the allegations in Paragraph 72 of the Complaint, including the characterization

of Jones Day’s compensation system as a “black box,” and deny that the Complaint has fully and

accurately described the Firm’s process for evaluating associates and determining associate

compensation.

       73.      Defendants admit that, as part of the Firm’s evaluation process, more senior

attorneys with whom an associate worked prepare written evaluations of the associate’s

performance. Except as expressly admitted, Defendants deny the allegations in Paragraph 73 of

the Complaint, and deny that the Complaint has fully and accurately described the Firm’s process

for evaluating associates and determining associate compensation.

       74.      Defendants admit that as part of the Firm’s evaluation process, an assessment

statement for each associate is prepared based on the associate’s written evaluations. Except as

expressly admitted, Defendants deny the allegations in Paragraph 74 of the Complaint, and deny

that the Complaint has fully and accurately described the Firm’s process for evaluating associates

and determining associate compensation.




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       75.     Defendants admit that associate salaries are determined each year according to a

process that involves review by the Managing Partner of the Firm, and that associate salary

adjustments typically take effect in July. Except as expressly admitted, Defendants deny the

allegations in Paragraph 75 of the Complaint, and deny that the Complaint has fully and accurately

described the Firm’s process for evaluating associates and determining associate compensation.

       76.     Defendants admit that physical copies of the evaluations and assessment of an

associate in Jones Day’s Washington, D.C. office are not distributed to that associate during the

review process for the associate to retain. Except as expressly admitted, Defendants deny the

allegations in Paragraph 76 of the Complaint, and deny that the Complaint has fully and accurately

described the Firm’s process for evaluating associates and determining associate compensation.

       77.     Defendants deny the allegations in Paragraph 77 of the Complaint.

       78.     Defendants deny the allegations in Paragraph 78 of the Complaint.

       79.     Defendants deny the allegations in Paragraph 79 of the Complaint, but lack

knowledge or information sufficient to form a belief as to how “most peer law firms set associate

pay” and, on that basis, deny that allegation. Jones Day compensates associates based on each

individual’s performance, inclusive of productivity, taking into account other factors such as the

relevant geographic market.        The Firm makes annual compensation decisions after a

comprehensive months-long evaluation process in which an assessment is made of each associate’s

overall contribution to the success of the Firm.

       80.     Defendants deny the allegations in Paragraph 80 of the Complaint.

       81.     Defendants admit that Savignac received positive written evaluations for his

performance in 2017, but deny that he had a “successful career” at Jones Day or a “bright future”

at the Firm. Savignac was at the Firm for fewer than two years and, in that brief period, had not




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established a career or sufficiently demonstrated that he had a “bright future” at the Firm. The

2017 written evaluations of Savignac, who started at the Firm in May 2017, reflect eight months

of work, and Savignac’s performance in 2018 was not assessed through the comprehensive

assessment process because he was terminated before evaluations were prepared. Defendants deny

any allegation that Savignac would have made partner at Jones Day. Associates at Jones Day—

including in the Issues & Appeals practice—often do not make partner at the Firm, and Savignac’s

tenure at Jones Day was too short to make any reliable assessment of his candidacy for partnership.

        82.    Defendants admit that Savignac joined Jones Day following a clerkship at the

Supreme Court of the United States. Defendants lack knowledge or information sufficient to form

a belief as to the remaining allegations in Paragraph 82 of the Complaint and, on that basis, deny

them.

        83.    Defendants admit the allegations in Paragraph 83 of the Complaint.

        84.    Defendants admit that the quoted language appeared in Jones Day’s offer letter to

Savignac and deny the remaining allegations of Paragraph 84 of the Complaint.

        85.    Defendants lack knowledge or information sufficient to form a belief as to what

enticed Savignac or other Supreme Court clerks to accept Jones Day’s offer of an associate

position, or about the salaries and billable hours expectations of peer firms, and on that basis deny

those allegations in Paragraph 85 of the Complaint. Defendants deny that Jones Day offers to

prospective associates in its Issues & Appeals practice group either substantially lower billable

hours expectations than peer firms, or a virtual certainty of making partner if they so desire.

        86.    Defendants admit the allegations in Paragraph 86 of the Complaint.

        87.    Defendants admit the allegations in Paragraph 87 of the Complaint.

        88.    Defendants admit the allegations in Paragraph 88 of the Complaint.




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       89.     Defendants deny the allegations in Paragraph 89 of the Complaint.

       90.     Savignac’s written evaluations and assessment statement for his performance in

2017 are written documents and speak for themselves, and Defendants deny any allegation in

Paragraph 90 of the Complaint inconsistent therewith.

       91.     Defendants admit that Jones Day increased Savignac’s annual salary to $500,000

effective July 2018, deny the remaining allegations in Paragraph 91 of the Complaint, and refer to

their response to Paragraph 79 of the Complaint.

       92.     Defendants admit that written evaluations of Savignac’s performance in 2018 were

not completed and submitted in 2019 because the Firm fired Savignac in January 2019, and that

one partner did submit a written evaluation of Savignac’s performance in 2018.

       93.     Defendants deny the allegations in Paragraph 93 of the Complaint.

       94.     Defendants deny the allegations in Paragraph 94 of the Complaint. Jones Day does

not have a minimum hours target that must be attained by an associate in order to obtain a bonus,

but Jones Day does set hours targets for associates and communicates those targets to associates.

       95.     Defendants admit that Savignac billed over 1,900 in client and other legal hours in

2018 and deny the remaining allegations in Paragraph 95 of the Complaint.

       96.     Defendants admit that promotion to partnership at Jones Day and salary

adjustments for Jones Day associates are not based solely on the number of hours billed and that

Heifetz has informed some Supreme Court clerk candidates for employment that attorneys in the

practice can maintain a work-life balance. Defendants deny the remaining allegations in Paragraph

96 of the Complaint.




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        97.    Defendants admit that Heifetz asked Savignac in 2018 to work with other Jones

Day attorneys to write the briefs in a case that was pending before the U.S. Supreme Court.

Defendants deny the remaining allegations in Paragraph 97 of the Complaint.

        98.    Defendants admit that Heifetz assigned Savignac to the case because of his

background as a Supreme Court clerk and to help ensure that the briefing in the case was

commensurate with Jones Day’s standards for Supreme Court advocacy. Defendants deny the

remaining allegations in Paragraph 98 of the Complaint, including the allegation that Heifetz

lacked confidence in the supervising partner’s ability to represent the client.

        99.    Defendants admit that Jones Day’s client prevailed in the Supreme Court appeal

following argument by the supervising partner, and admit that Savignac worked on the briefing.

Defendants deny the remaining allegations in Paragraph 99 of the Complaint.

        100.   Defendants deny the allegations in Paragraph 100 of the Complaint.

        101.   Defendants deny the allegations in Paragraph 101 of the Complaint.

        102.   Defendants admit that Sheketoff joined Jones Day following a clerkship at the

Supreme Court of the United States. Defendants lack knowledge or information sufficient to form

a belief as to the remaining allegations in Paragraph 102 of the Complaint and, on that basis, deny

them.

        103.   Defendants admit the allegations in Paragraph 103 of the Complaint.

        104.   Defendants deny the allegations in Paragraph 104 of the Complaint.

        105.   Defendants admit that a photograph of Sheketoff was taken for the Jones Day

website and deny that any Jones Day partner or employee doctored any photograph of Sheketoff

or directed anyone else to doctor any photograph of Sheketoff. The photograph selected for the

Jones Day website was chosen by Sheketoff. A print of that photograph was then given to




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Sheketoff for her approval before it was posted to the website. No photo was posted to the website

without Sheketoff’s advance approval.      Defendants further aver that Jones Day used other

photographs of Sheketoff on its website and in marketing material, such as photographs of

Sheketoff posing with other former Supreme Court clerks. Sheketoff does not allege that any of

those images of her were doctored. Defendants lack knowledge or information sufficient to form

a belief as to the allegations in Paragraph 105 of the Complaint about whether Sheketoff is bi-

racial and, on that basis, deny them.

       106.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 106 of the Complaint and, on that basis, deny them.

       107.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 107 of the Complaint and, on that basis, deny them.

       108.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 108 of the Complaint and, on that basis, deny them. Jones Day did not

instruct the photographer to make Sheketoff appear more Caucasian or more attractive.

       109.    Defendants deny the allegations in Paragraph 109 of the Complaint.

       110.    Defendants admit that Jones Day does not edit the photographs of any lawyer or

employee to make them appear more Caucasian or more attractive. Except as expressly admitted,

Defendants deny the allegations in Paragraph 110 of the Complaint.

       111.    Defendants deny the allegations in Paragraph 111 of the Complaint.

       112.    Defendants deny the allegations in Paragraph 112 of the Complaint.

       113.    Defendants admit that Sheketoff received four salary increases during her tenure at

Jones Day, and that one of those increases was comparatively smaller than the others. Except as

expressly admitted, Defendants deny the allegations in Paragraph 113 of the Complaint.




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       114.    Defendants admit the allegations in Paragraph 114 of the Complaint.

       115.    Defendants admit the allegations in Paragraph 115 of the Complaint.

       116.    Defendants admit that Sheketoff worked with Partner A during her third year at

Jones Day, that the project involved writing a memorandum for a Jones Day client, and that Partner

A is not in the Issues & Appeals practice group. Except as expressly admitted, Defendants deny

the allegations in Paragraph 116 of the Complaint.

       117.    Defendants deny the allegations in Paragraph 117 of the Complaint.

       118.    Defendants deny the allegations in Paragraph 118 of the Complaint.

       119.    Defendants admit the allegations in Paragraph 119 of the Complaint.

       120.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 120 of the Complaint and, on that basis, deny them. In commenting on

Partner A’s edits to the memorandum, Sheketoff did not indicate that any rendered the

memorandum misleading.

       121.    Defendants admit that Sheketoff consulted an attorney in the Issues & Appeals

group about Partner A’s edits.

       122.    Defendants admit that the attorney with whom Sheketoff consulted advised her to

raise with Partner A any concerns she may have regarding the memorandum. Except as expressly

admitted, Defendants deny the allegations in Paragraph 122 of the Complaint.

       123.    Defendants deny the allegations in Paragraph 123 of the Complaint as stated.

Sheketoff edited the draft memorandum without first discussing her proposed changes with Partner

A. After revising the draft, Sheketoff sent her changes to Partner A.

       124.    Defendants deny the allegations in Paragraph 124 of the Complaint. In fact,

Sheketoff’s email to Partner A summarized five groups of changes to the memorandum. On the




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first group of edits, Partner A commented “very good” and changed one item. On the second,

Partner A commented “I like your changes a lot” and made a stylistic change. On the third, Partner

A commented “Those look great” and made no alterations. The fourth, which Partner A considered

stylistic change, he reversed. On the fifth, Partner A commented “That’s fine.” Nothing in Partner

A’s email conveyed that “it was inappropriate for Julia to suggest that his work could be improved

or clarified” or that “her role was simply to defer to him,” as Paragraph 124 alleges.

        125.    Defendants deny the allegations in Paragraph 125 of the Complaint.

        126.    Defendants deny the allegations in Paragraph 126 of the Complaint.

        127.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 127 of the Complaint and, on that basis, deny them.

        128.    Defendants deny the allegations in the first sentence of Paragraph 128 of the

Complaint. Defendants deny any allegation that Partner A inappropriately demands or expects

deference from any associate based on the associate’s gender.

        129.    Defendants deny the allegations in Paragraph 129 of the Complaint.

        130.    Defendants deny the allegations in Paragraph 130 of the Complaint.

        131.    The allegations in Paragraph 131 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith, including the

allegation that Partner A’s evaluation criticized Sheketoff for being insufficiently deferential.

Partner A criticized Sheketoff because “her initial drafts were far more academic / pure legal

analysis than helpful advice to the client”; for “exhibit[ing] little-to-no initiative”; and for poor

availability.

        132.    Defendants deny the allegations in Paragraph 132 of the Complaint.




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       133.    Defendants deny the allegations in Paragraph 133 of the Complaint. Between the

time he joined the Jones Day partnership and the time of Sheketoff’s allegations, Partner A

submitted fifteen evaluations of female associates, only one of which expressed overarching

criticism—his evaluation of Sheketoff. Partner A also negatively reviewed male associates when

he found their performance lacking. There is nothing gender-based about Partner A’s evaluation

of associates generally or Sheketoff in particular.

       134.    Defendants admit that Sheketoff’s assessment statement for 2016 took into account

the written evaluations that individual attorneys submitted, and deny that any of the supposed

criticisms Sheketoff alleges in the Complaint appeared either in Partner A’s evaluation of

Sheketoff, or in Sheketoff’s 2016 assessment statement. Partner A criticized Sheketoff because

“her initial drafts were far more academic / pure legal analysis than helpful advice to the client”;

for “exhibit[ing] little-to-no initiative”; and for poor availability.     Sheketoff’s assessment

statement echoed the concern, which other reviewers also raised, about her availability and the fact

that “a client memo was too focused on pure legal analysis without accompanying advice,” while

also noting comments from other evaluators that “some of [Sheketoff’s] writing was viewed as

complicated for a judge who might not be as immersed in the law and facts,” and that “a motion

did not read enough like an advocacy piece.” There is nothing in either Partner A’s evaluation or

in Sheketoff’s assessment statement about insufficient deference.

       135.    Defendants admit that Sheketoff received a salary increase of $15,000 effective

July 1, 2017, and that the increase was based in part on her 2016 assessment statement.

       136.    Defendants deny the allegations in Paragraph 136 of the Complaint. Sheketoff’s

compensation adjustment reflected the fact that her reviews from multiple partners were mixed




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and her contribution to billable client representations was below expectations due to a focus on

idiosyncratic concerns.

       137.    Defendants deny the allegations in Paragraph 137 of the Complaint. Three male

Issues & Appeals associates received a smaller compensation adjustment than Sheketoff or no

adjustment on July 1, 2017, but all female Issues & Appeals associates received larger raises than

Sheketoff.

       138.    Defendants admit the allegations in Paragraph 138 of the Complaint.

       139.    Defendants admit the allegations in Paragraph 139 of the Complaint.

       140.    Defendants deny the allegations in Paragraph 140 of the Complaint.

       141.    Defendants admit that Sheketoff’s salary effective as of July 1, 2018, was below

the salaries of the four Issues & Appeals associates—two female, two male—whose salaries had

been the same as Sheketoff’s for the one year between July 1, 2016, and June 30, 2017. Defendants

deny the remaining allegations in Paragraph 141 of the Complaint.

       142.    Defendants deny the allegations in Paragraph 142 of the Complaint.

       143.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 143 of the Complaint and, on that basis, deny them.

       144.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 144 of the Complaint and, on that basis, deny them.

       145.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 145 of the Complaint and, on that basis, deny them.

       146.    Defendants deny the allegations in Paragraph 146 of the Complaint.

       147.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 147 of the Complaint and, on that basis, deny them.




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       148.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 148 of the Complaint and, on that basis, deny them.

       149.    Defendants deny the allegations in Paragraph 149 of the Complaint.

       150.    Defendants deny the allegations in Paragraph 150 of the Complaint.

       151.    Defendants deny the allegations in Paragraph 151 of the Complaint as stated. The

paid leave potentially available to biological mothers includes both family leave and short-term

disability leave. Assuming comparable caregiver status, biological mothers and fathers are given

the same amount of paid family leave.

       152.    Defendants lack knowledge or information sufficient to form a belief as to the

allegations in Paragraph 152 of the Complaint and, on that basis, deny them. Defendants note that

regardless of the amount of paid family leave provided to new parents, it would likely violate the

Pregnancy Discrimination Act to deny new birth mothers short-term disability leave available to

other individuals who qualify for such leave.

       153.    Defendants deny that there is any gender-based distinction in Jones Day’s family

leave policy. Defendants admit that adoptive parents who act as primary caregivers receive 18

weeks of paid family leave. The additional leave given to adoptive parents is gender neutral and

accounts for the unique aspects of the adoptive process. Biological parents of all genders receive

the same amount of parental family leave (4 weeks or 10 weeks), depending on caregiver status.

All new biological mothers and fathers who have a short-term disability can also take paid

disability leave, with the amount of such leave dependent on the disability.

       154.    Defendants admit the first sentence of Paragraph 154 of the Complaint and deny

the second sentence of Paragraph 154 of the Complaint.




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       155.    Defendants admit that, in addition to paid family leave, biological mothers can take

short-term disability leave to recover from childbirth. Biological fathers with a short-term

disability can also take paid disability leave, but not for a childbirth that they did not experience

as the birth parent. Defendants deny the remaining allegations in Paragraph 155 of the Complaint.

       156.    Defendants deny the allegations in Paragraph 156 of the Complaint.

       157.    Defendants deny the allegations in Paragraph 157 of the Complaint.

       158.    Defendants admit that Jones Day’s insurance carrier applies a presumption of eight

weeks of short-term disability to new biological mothers. Defendants deny any allegation in

Paragraph 158 of the Complaint that Jones Day treats short-term disability leave related to

childbirth as a form of family leave.

       159.    Defendants deny the allegations in Paragraph 159 of the Complaint.

       160.    Defendants deny the allegations in Paragraph 160 of the Complaint.

       161.    Defendants deny the allegations in Paragraph 161 of the Complaint.

       162.    Defendants deny the allegations in Paragraph 162 of the Complaint. Adoptive

primary caregivers (regardless of gender) receive 18 weeks of paid family leave. The family leave

available to adoptive parents is not “the same” as the leave available to birth mothers, which

includes both family leave (4 weeks or 10 weeks, depending on caregiver status) and short-term

disability leave for recovery from childbirth. The additional family leave given to adoptive parents

accounts for the unique burdens of the adoptive process and is gender-neutral. In contrast, short-

term disability leave based on childbirth is available only to birth mothers because only birth

mothers experience childbirth.




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       163.    Defendants lack knowledge or information sufficient to form a belief as to any

specific associate’s experience with childbirth or the basis for the generalized allegations in

Paragraph 163 of the Complaint and, on that basis, deny them.

       164.    Defendants deny the allegation that the physical demands placed on Jones Day

associates are de minimis. The allegation that Jones Day associates perform mere “office work”

is vague, ambiguous, and lacks context, and is denied. Defendants further aver that Sheketoff

appeared in court as a Jones Day associate, including to present argument. Defendants lack

knowledge or information sufficient to form a belief as to the remaining allegations in Paragraph

164 of the Complaint and, on that basis, deny them.

       165.    Defendants lack knowledge or information as to any basis for comparing the

physical demands of being a primary caregiver and being a Jones Day associate or that such

demands can be generalized across all primary caregivers or all Jones Day associates and, on that

basis, deny the allegations in Paragraph 165 of the Complaint.

       166.    Defendants deny the allegations in Paragraph 166 of the Complaint.

       167.    Defendants deny the allegations in Paragraph 167 of the Complaint.

       168.    Defendants deny the allegations in Paragraph 168 of the Complaint.

       169.    Defendants deny the allegations in Paragraph 169 of the Complaint.

       170.    Defendants deny the allegations in Paragraph 170 of the Complaint.

       171.    The allegations in Paragraph 171 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

       172.    Defendants admit that Jones Day acted as co-counsel for Petitioners in Department

of Human Resources v. Hibbs, the decision in which is reported at 538 U.S. 721 (2003).




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          173.   The allegations in Paragraph 173 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

          174.   The allegations in Paragraph 174 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

          175.   Defendants deny the allegations in Paragraph 175 of the Complaint.

          176.   Defendants lack knowledge or information as to any basis for the allegations

regarding how caregiving roles are allocated and, on that basis, deny those allegations in Paragraph

176 of the Complaint, and deny the remaining allegations as unrelated to Jones Day’s family leave

policy.

          177.   Defendants lack knowledge or information as to the allegations in Paragraph 177

of the Complaint and, on that basis, deny them. Jones Day’s family leave policies afford all parents

paid family leave well above what many other employers provide, including the federal

government.

          178.   Defendants lack knowledge or information as to the allegations in Paragraph 178

of the Complaint and, on that basis, deny them.

          179.   Defendants deny that Jones Day “giv[es] new mothers more time than new fathers

to care for and bond with their children,” or gives “the husbands of female associates more time

to focus on their own careers than the wives of male associates receive, nor for giving sex-based

disability leave to employees who are not disabled.”

          180.   Defendants deny the allegations of Paragraph 180 of the Complaint.

          181.   Defendants lack knowledge or information as to the allegations in Paragraph 181

of the Complaint and, on that basis, deny them.




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       182.    Defendants admit that Sheketoff resigned from Jones Day in August 2018.

Defendants lack knowledge or information as to the remaining allegations in Paragraph 182 of the

Complaint and, on that basis, deny them.

       183.    Defendants deny that Jones Day’s family leave policy imposes any gender-based

stereotype.   Defendants lack knowledge or information as to the remaining allegations in

Paragraph 183 of the Complaint and, on that basis, deny them.

       184.    Defendants deny the allegations in Paragraph 184 of the Complaint.

       185.    The allegations in Paragraph 185 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

       186.    The allegations in Paragraph 186 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

       187.    Defendants admit that Jones Day’s Director of Human Resources called Sheketoff.

Except as expressly admitted, Defendants deny the allegations in Paragraph 187 of the Complaint.

       188.    Defendants deny the allegations in Paragraph 188 of the Complaint.

       189.    Certain allegations in Paragraph 189 of the Complaint refer to a written document

that speaks for itself, and Defendants deny any allegations inconsistent therewith. Defendants lack

knowledge and information as to what motivated Savignac to send the referenced email, but deny

that he had any reasonable basis to fear that Jones Day might retaliate.

       190.    The allegations in Paragraph 190 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

       191.    Certain allegations in Paragraph 191 of the Complaint refer to a written document

that speaks for itself, and Defendants deny any allegations inconsistent therewith. Defendants




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deny that both Julia and Mark sent the referenced email and lack knowledge and information as to

when Plaintiffs’ son was born, and on that basis deny those allegations.

       192.      Defendants deny the allegations in Paragraph 192 of the Complaint.

       193.      Defendants admit that neither Heifetz nor the Human Resources Director wrote to

Savignac in response to his January 16, 2019 email.

       194.      Defendants admit that Jones Day fired Savignac effective January 22, 2019.

       195.      The allegations in Paragraph 195 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith.

       196.      Defendants admit that the notice of termination was sent via both email and hand

delivery, along with personal effects from Savignac’s office that Jones Day returned to him.

Defendants lack knowledge or information as to the remaining allegations in Paragraph 196 of the

Complaint and, on that basis, deny them.

       197.      Defendants admit the notice of termination was directed to Mark, who was fired

because of his poor judgment, behavior toward colleagues, and intemperate, unreasoned threat to

wage a public relations campaign to damage Jones Day if it did not provide him with extra paid

family leave beyond what all other associates, both male and female, receive under the family

leave policy. Except as expressly admitted, Defendants deny the allegations in Paragraph 197 of

the Complaint.

       198.      Defendants deny the allegations in Paragraph 198 of the Complaint. Savignac

challenged the Firm’s family leave policy months prior to his termination and was not terminated

for doing so.




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       199.    Defendants deny the allegations in Paragraph 199 of the Complaint, except they

admit that the quoted language has appeared on the Jones Day website. The Firm’s decision to

terminate Savignac was a collaborative decision, which included consultation with Brogan.

       200.    Defendants deny the allegations in Paragraph 200 of the Complaint.

       201.    Defendants deny the allegations in Paragraph 201 of the Complaint.

       202.    Defendants deny the allegations in Paragraph 202 of the Complaint.

       203.    Defendants deny the allegations in Paragraph 203 of the Complaint.

       204.    Defendants admit that Savignac, subsequent to his termination, contacted certain

Jones Day attorneys with whom he had worked to ask that they provide a reference. Defendants

admit that the attorneys Savignac contacted know other attorneys outside of Jones Day. Except as

expressly admitted, Defendants deny the allegations in Paragraph 204 of the Complaint.

       205.    The allegations in Paragraph 205 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith. Defendants further

aver that in January 2019, Partner C was relatively new to Jones Day.

       206.    Defendants deny the allegations in Paragraph 206 of the Complaint.

       207.    Defendants deny the allegations in Paragraph 207 of the Complaint, except admit

that long-standing written policy at Jones Day prohibits lawyers at the Firm from providing “any

employment reference of any type to any other party, including current or former employees

themselves. Requests for employment references should be referred, in the case of lawyer

requests, to the Firm Administrative Partner or appropriate Partner-in-Charge….           In most

circumstances, the response will be limited to disclosing the date of original hire and the date of

most recent severance of employment….”

       208.    Defendants deny the allegations in Paragraph 208 of the Complaint.




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       209.   Defendants deny the allegations in Paragraph 209 of the Complaint.

       210.   Defendants deny the allegations in Paragraph 210 of the Complaint.

       211.   Defendants admit that Heifetz previously told Sheketoff that the latter could

provide a letter of recommendation for an employee who was applying to law school, which is not

an employment reference subject to the policy referenced in response to Paragraph 211 of the

Complaint.

       212.   Defendants lack knowledge or information as to the allegations in Paragraph 212

of the Complaint and, on that basis, deny them, and deny that Heifetz has acted contrary to the

policy referenced in response to Paragraph 207 of the Complaint.

       213.   Defendants lack knowledge or information as to the allegations in Paragraph 213

of the Complaint and, on that basis, deny them, and deny that Heifetz has acted contrary to the

policy referenced in response to Paragraph 207 of the Complaint.

       214.   Defendants lack knowledge or information as to the allegations in Paragraph 214

of the Complaint and, on that basis, deny them, and deny that Heifetz has acted contrary to the

policy referenced in response to Paragraph 207 of the Complaint.

       215.   Defendants deny the allegations in Paragraph 215 of the Complaint.

       216.   The allegations in Paragraph 216 of the Complaint refer to a written document that

speaks for itself, and Defendants deny any allegations inconsistent therewith. Pursuant to the

policy referenced in response to Paragraph 207 of the Complaint, Jones Day authorized Partner D

to provide an employment reference for Savignac. Partner D is a well-respected appellate advocate

who has argued twelve cases in the U.S. Supreme Court and dozens more in appellate courts

nationwide; who worked on matters to which Savignac billed over 700 hours; who was personally

familiar with Savignac’s work; and who provided an employment reference for Savignac to




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Steptoe & Johnson, which subsequently hired Savignac according to that firm’s website.

Defendants deny the remaining allegations in Paragraph 216 of the Complaint.

       217.    Defendants deny the allegations in Paragraph 217 of the Complaint.

       218.    Defendants deny the allegations in Paragraph 218 of the Complaint.

       219.    Defendants deny the allegations in Paragraph 219 of the Complaint and refer to

their response to Paragraph 216 of the Complaint.

       220.    Defendants admit that Jones Day did not choose Partner D to provide an

employment reference for Savignac based solely on Partner D’s level of experience with

Savignac’s work. Except as expressly admitted, Defendants deny the allegations in Paragraph 220

of the Complaint.

       221.    Defendants deny the allegations in Paragraph 221 of the Complaint.

       222.    Defendants deny the allegations in Paragraph 222 of the Complaint.

       223.    Defendants admit that, as of the relevant time, Partner D had a longer tenure at

Jones Day than both Partners C and E, who had more recently joined the Firm. Defendants lack

knowledge and information for the basis of the allegations in Paragraph 223 about who is “a Jones

Day insider” or “heir apparent” for leadership positions within the Firm and, on that basis, deny

those allegations.

       224.    Defendants admit the allegations in Paragraph 224 of the Complaint.

       225.    Defendants deny the allegations in Paragraph 225 of the Complaint.

       226.    Defendants deny the allegations in Paragraph 226 of the Complaint and refer to

their response to Paragraph 216 of the Complaint.

       227.    Defendants deny the allegations in Paragraph 227 of the Complaint.




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                                     COUNT I
SEX DISCRIMINATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                        OF 1964, 42 U.S.C. § 2000e, et seq.
             (on behalf of Sheketoff and Savignac against Jones Day)

       228.   Defendants incorporate Paragraphs 1-227 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 228 of the Complaint.

       229.   Defendants deny the allegations in Paragraph 229 of the Complaint.

       230.   Defendants deny the allegations in Paragraph 230 of the Complaint.

       231.   Defendants deny the allegations in Paragraph 231 of the Complaint.

       232.   Defendants deny the allegations in Paragraph 232 of the Complaint.

       233.   Defendants deny the allegations in Paragraph 233 of the Complaint.

                                  COUNT II
    SEX DISCRIMINATION IN VIOLATION OF THE EQUAL PAY ACT OF 1963,
                              29 U.S.C. § 206(d)
                  (on behalf of Savignac against Jones Day)

       234.   Defendants incorporate Paragraphs 1-233 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 234 of the Complaint.

       235.   Defendants deny the allegations in Paragraph 235 of the Complaint.

       236.   Defendants deny the allegations in Paragraph 236 of the Complaint.

       237.   Defendants deny the allegations in Paragraph 237 of the Complaint.

       238.   Defendants deny the allegations in Paragraph 238 of the Complaint.

                                    COUNT III
    SEX DISCRIMINATION IN VIOLATION OF THE D.C. HUMAN RIGHTS ACT,
                             D.C. Code § 2-1401 et seq.
              (on behalf of Sheketoff and Savignac against Jones Day)

       239.   Defendants incorporate Paragraphs 1-238 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 239 of the Complaint.

       240.   Defendants deny the allegations in Paragraph 240 of the Complaint.



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       241.   Defendants deny the allegations in Paragraph 241 of the Complaint.

       242.   Defendants deny the allegations in Paragraph 242 of the Complaint.

       243.   Defendants deny the allegations in Paragraph 243 of the Complaint.

       244.   Defendants deny the allegations in Paragraph 244 of the Complaint.

                                 COUNT IV
SEX DISCRIMINATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                     OF 1964, 42 U.S.C. § 2000e, et seq.
                 (on behalf of Sheketoff against Jones Day)

       245.   Defendants incorporate Paragraphs 1-244 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 245 of the Complaint.

       246.   Defendants deny the allegations in Paragraph 246 of the Complaint.

       247.   Defendants deny the allegations in Paragraph 247 of the Complaint.

       248.   Defendants deny the allegations in Paragraph 248 of the Complaint.

       249.   Defendants deny the allegations in Paragraph 249 of the Complaint.

       250.   Defendants deny the allegations in Paragraph 250 of the Complaint.

       251.   Defendants deny the allegations in Paragraph 251 of the Complaint.

       252.   Defendants deny the allegations in Paragraph 252 of the Complaint.

                                  COUNT V
    SEX DISCRIMINATION IN VIOLATION OF THE EQUAL PAY ACT OF 1963,
                              29 U.S.C. § 206(d)
                  (on behalf of Sheketoff against Jones Day)

       253.   Defendants incorporate Paragraphs 1-252 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 253 of the Complaint.

       254.   Defendants deny the allegations in Paragraph 254 of the Complaint.




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       255.   Defendants admit that effective July 1, 2017, Sheketoff had a lower annual salary

than the three female and three male associates of the same class year in the Issues & Appeals

practice in Jones Day’s Washington, D.C. office.

       256.   Defendants deny the allegations in Paragraph 256 of the Complaint.

       257.   Defendants deny the allegations in Paragraph 257 of the Complaint.

       258.   Defendants deny the allegations in Paragraph 258 of the Complaint.

       259.   Defendants deny the allegations in Paragraph 259 of the Complaint.

                                  COUNT VI
    SEX DISCRIMINATION IN VIOLATION OF THE D.C. HUMAN RIGHTS ACT,
                          D.C. Code § 2-1401 et seq.
                  (on behalf of Sheketoff against Jones Day)

       260.   Defendants incorporate Paragraphs 1-259 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 260 of the Complaint.

       261.   Defendants deny the allegations in Paragraph 261 of the Complaint.

       262.   Defendants deny the allegations in Paragraph 262 of the Complaint.

       263.   Defendants deny the allegations in Paragraph 263 of the Complaint.

       264.   Defendants deny the allegations in Paragraph 264 of the Complaint.

       265.   Defendants deny the allegations in Paragraph 265 of the Complaint.

       266.   Defendants deny the allegations in Paragraph 266 of the Complaint.

       267.   Defendants deny the allegations in Paragraph 267 of the Complaint.

                                   COUNT VII
RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
                             42 U.S.C. § 2000e, et seq.
             (on behalf of Sheketoff and Savignac against Jones Day)

       268.   Defendants incorporate Paragraphs 1-267 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 268 of the Complaint.




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       269.   Defendants deny the allegations in Paragraph 269 of the Complaint.

       270.   Defendants deny the allegations in Paragraph 270 of the Complaint.

       271.   Defendants deny the allegations in Paragraph 271 of the Complaint.

       272.   Defendants deny the allegations in Paragraph 272 of the Complaint.

       273.   Defendants deny the allegations in Paragraph 273 of the Complaint.

       274.   Defendants deny the allegations in Paragraph 274 of the Complaint.

       275.   Defendants deny the allegations in Paragraph 275 of the Complaint.

                                    COUNT VIII
    RETALIATION IN VIOLATION OF THE FAIR LABOR STANDARDS ACT, AS
             AMENDED BY THE EQUAL PAY ACT, 29 U.S.C. § 215
            (on behalf of Sheketoff and Savignac against all Defendants)

       276.   Defendants incorporate Paragraphs 1-275 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 276 of the Complaint.

       277.   Defendants deny the allegations in Paragraph 277 of the Complaint.

       278.   Defendants deny the allegations in Paragraph 278 of the Complaint.

       279.   Defendants deny the allegations in Paragraph 279 of the Complaint.

       280.   Defendants deny the allegations in Paragraph 280 of the Complaint.

       281.   Defendants deny the allegations in Paragraph 281 of the Complaint.

       282.   Defendants deny the allegations in Paragraph 282 of the Complaint.

       283.   Defendants deny the allegations in Paragraph 283 of the Complaint.

                                     COUNT IX
        RETALIATION IN VIOLATION OF THE D.C. HUMAN RIGHTS ACT,
                             D.C. Code § 2-1401 et seq.
            (on behalf of Sheketoff and Savignac against all Defendants)

       284.   Defendants incorporate Paragraphs 1-283 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 284 of the Complaint.




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       285.   Defendants deny the allegations in Paragraph 285 of the Complaint.

       286.   Defendants deny the allegations in Paragraph 286 of the Complaint.

       287.   Defendants deny the allegations in Paragraph 287 of the Complaint.

       288.   Defendants deny the allegations in Paragraph 288 of the Complaint.

       289.   Defendants deny the allegations in Paragraph 289 of the Complaint.

       290.   Defendants deny the allegations in Paragraph 290 of the Complaint.

       291.   Defendants deny the allegations in Paragraph 291 of the Complaint.

       292.   Defendants deny the allegations in Paragraph 292 of the Complaint.

       293.   Defendants deny the allegations in Paragraph 293 of the Complaint.

                                  COUNT X
INTERFERENCE IN VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT OF
                        1993, 29 U.S.C. § 2611 et seq.
                  (on behalf of Savignac against Jones Day)

       294.   Defendants admit that the Court has dismissed Count X.

                                 COUNT XI
INTERFERENCE IN VIOLATION OF THE DISTRICT OF COLUMBIA FAMILY AND
             MEDICAL LEAVE ACT, D.C. Code § 32-501 et seq.
                  (on behalf of Savignac against Jones Day)

       295.   Defendants incorporate Paragraphs 1-294 above. Except as expressly admitted,

Defendants deny the allegations in Paragraph 295 of the Complaint.

       296.   Paragraph 296 of the Complaint states a legal conclusion to which no response is

required.

       297.   Defendants deny the allegations in Paragraph 297 of the Complaint.

       298.   Defendants deny the allegations in Paragraph 298 of the Complaint.

       299.   Defendants deny the allegations in Paragraph 299 of the Complaint.

       300.   Defendants deny the allegations in Paragraph 300 of the Complaint.




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                                     PRAYER FOR RELIEF

       Defendants deny that Plaintiffs are entitled to any relief.

                                         JURY DEMAND

       Defendants demand a trial by jury for all issues so triable.

                            AFFIRMATIVE & OTHER DEFENSES

       Without admitting any of the facts alleged in the Complaint, Defendants hereby assert and

allege the following separate and additional defenses, without assuming the burden of proving any

fact, issue, or element of a cause of action where such burden properly belongs to Plaintiffs, and

without prejudice to Defendants’ right to argue that Plaintiffs bear the burden of proof as to any

one or more of said defenses. Furthermore, all such defenses are pleaded in the alternative and do

not constitute an admission of liability or an admission that Plaintiffs are entitled to any relief

whatsoever. Defendants presently have insufficient knowledge or information as to whether they

may have additional, as yet unasserted, defenses. Defendants therefore reserve the right to assert

additional defenses in the event discovery or further proceedings indicate such additional defense

would be appropriate:

                                        FIRST DEFENSE

       The Complaint fails, in whole or in part, to state a claim upon which relief can be granted

or a claim for which the relief sought may be awarded.

                                       SECOND DEFENSE

       Plaintiffs lack standing to seek declaratory or injunctive relief because they are no longer

employed by Jones Day.

                                        THIRD DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitation

and/or by statutory filing deadlines that they failed to meet.


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                                      FOURTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by equitable defenses, including the

doctrines of equitable estoppel, laches, waiver and/or unclean hands.

                                       FIFTH DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, as for any matters for which Plaintiffs

have failed to satisfy administrative, procedural or jurisdictional prerequisites for commencing and

maintaining this action.

                                       SIXTH DEFENSE

       All actions by Defendants with respect to Plaintiffs were lawful and were made in good

faith compliance with applicable provisions of law, rules and regulations, and all actions by

Defendants with respect to Plaintiffs were taken for legitimate, non-discriminatory, non-

retaliatory, non-prohibited reasons and/or for good cause.

                                     SEVENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because Jones Day’s employment decisions

and actions were based on legitimate, nondiscriminatory business reasons and were not pretexts

for discrimination.

                                      EIGHTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because Jones Day’s employment decisions

and actions were job-related and consistent with business necessity.

                                       NINTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because Jones Day’s employment decisions

and actions were based on bona fide factors other than race, sex, gender, pregnancy, or parenthood.




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                                       TENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part to the extent that the claims challenge

employment decisions and actions that were based on a bona fide seniority, merit, or incentive

system.

                                     ELEVENTH DEFENSE

       Jones Day at all relevant times has maintained, disseminated and observed equal

employment, affirmative action, a harassment-free work environment, and anti-retaliation policies,

that, inter alia, provide that all personnel decisions are to be made on the basis of merit without

regard to gender, protected activity, or on any other basis that is protected under applicable law,

and prohibit any form of retaliation against an individual who in good faith reports a claim of

discrimination or who opposes any act or practice made unlawful by any federal, state, or local

statute, or who cooperates in the investigation of such a report.

                                     TWELFTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because Defendants did not intentionally

engage in an unlawful employment practice.

                                   THIRTEENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part to the extent that the claims are based on

alleged incidents that do not constitute tangible adverse employment actions against Plaintiffs,

Jones Day exercised reasonable care to prevent the alleged incidents, and the Plaintiffs

unreasonably failed to take advantage of available preventative or corrective opportunities.

                                   FOURTEENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because actual payments given to Plaintiffs

were reasonable, appropriate, and commensurate with the services and work actually performed.




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                                     FIFTEENTH DEFENSE

       Plaintiffs have suffered no damages as a result of any alleged act or omission of

Defendants.

                                     SIXTEENTH DEFENSE

       Even if Plaintiffs have suffered damages, Plaintiffs’ claims are barred in whole or in part

by their failure to mitigate, or attempt to mitigate, their damages.

                                  SEVENTEENTH DEFENSE

       Plaintiffs’ claims are barred to the extent that damages, if any, resulted from the acts and/or

omissions of a Plaintiff or any person on whose behalf relief is sought.

                                   EIGHTEENTH DEFENSE

       Plaintiffs’ claims for equitable relief are barred in whole or in part to the extent Plaintiffs

have not suffered injury or harm and will not suffer imminent and irreparable injury or harm as a

result of any action or conduct by Defendants.

                                   NINETEENTH DEFENSE

       Plaintiffs’ claims for injunctive, equitable, and/or declaratory relief are inappropriate to the

extent Plaintiffs have an adequate remedy at law.

                                    TWENTIETH DEFENSE

       Plaintiffs’ claims are barred to the extent they result in an unjust enrichment to Plaintiffs

and/or any person on whose behalf relief is sought.

                                  TWENTY-FIRST DEFENSE

       The Complaint fails to state a claim upon which an award of punitive damages can be

granted.




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                                TWENTY-SECOND DEFENSE

       Plaintiffs’ claims for punitive damages are barred because Defendants did not act with,

ratify, authorize, or acquiesce in any acts of fraud, oppression, malice, wanton, willful, or

conscious disregard, or reckless indifference toward Plaintiffs.

                                 TWENTY-THIRD DEFENSE

       Plaintiffs’ claims for punitive damages are barred to the extent such damages are not

authorized by applicable federal or D.C. law.

                                TWENTY-FOURTH DEFENSE

       The imposition of punitive damages or penalties would violate Defendants’ constitutional

rights, including, without limitation, Defendants’ rights to equal protection under the United States

Constitution, Defendants’ rights to procedural due process under the Fourteenth Amendment of

the United States Constitution, and Defendants’ rights to substantive due process under the Fifth

and Fourteenth Amendments of the United States Constitution.

                                  TWENTY-FIFTH DEFENSE

       Plaintiffs are not entitled to recover attorneys’ fees and costs under the causes of action as

demanded in the Complaint.

 Dated: February 2, 2022                           Respectfully submitted,

                                                     /s/ Terri L. Chase
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